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IN THE UNITED STATES DISTRICT COURT ENOY MAVER WHITTINGTON, GLERK

 

 

FOR THE 148. DISTRICT COURT
DISTRICT OF COLUMBIA
)

BOARD OF TRUSTEES, y
COMMUNICATIONS WORKERS OF }
AMERICA SAVINGS AND \
RETIREMENT TRUST CASE NUMBER: 1:05C'V0965

501 Third Street, NW

Washington, DC 20001-2797 JUDGE: COLLEEN KOLLAR-KOTELLY

_ DECK TYPE: LABOR/ERISA
Plaintiff, = -
DATE STAMP: 05/13/05
v. SY a a
COMPLAINT

P OWER COMMUNICATION (FOR BREACH OF COLLECTIVE
SERVICES, INC. BARGAINING AGREEMENT,

945 Yonkers Avenue FAILURE TO MAKE REQUIRED

Yonkers, NY 10704 BENEFIT CONTRIBUTIONS,

FIDUCIARY BREACH,

and AND INJUNCTIVE RELIEF)

JAMES MCGIBNEY
19 Bronxville Road
Bronxville, NY 10708
Defendants.

Serve: Power Communication Services, Inc.
James McGibney, Registered Agent
945 Yonkers Avenue
Yonkers, NY 10704

and
James McGibney,

19 Bronxville Road
Bronxville, NY 10708

 

Plaintiff, the Board of Trustees of the Communications Workers of American Savings

and Retirement Trust (“Plan”), avers as follows:
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INTRODUCTION

1. This action is brought under Sections 502 and 515 of the Employee Retirement
Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§ 1132 and 1145. This action
is also brought under Section 301 of the Labor Management Relations Act “LMRA”), 29 U.S.C.
§ 185. Plaintiff seeks a money judgment awarding delinquent employer contributions, lost
investment returns on the delinquent contributions, accrued interest, liquidated damages,
attorney’s fees, and costs owed by Defendants to the Plan pursuant to Section 502(g)(2) of
ERISA, 29 U.S.C. § 1132(g)(2), Defendants’ collective bargaining agreement with the
Communications: Workers of America, AFL-CIO, Local 1101 (‘Local 1101”), and the Trust
governing the Plan. Plaintiff also seeks injunctive relief pursuant to ERISA and the LMRA to
enjoin the prospective failure of Defendant to make contributions due the Plan in violation of
ERISA Section 515, 29 U.S.C. § 1145, and in violation of the provisions of the Trust governing
the Plan.

JURISDICTION AND VENUE
2. Jurisdiction and venue are conferred upon this Court by 29 U.S.C. § 1132 and by

29 U.S.C. § 185. Where an action is brought under Sections 502 and 515 of ERISA in a district
court of the United States, it may be brought, at Plaintiffs discretion, in the district where the
Plan is administered, where the breach took place, or where a defendant resides or may be found,
and process may be served in any other district where a defendant resides or may be found. 29
U.S.C. § 1132(e)(2). The Plan for which Plaintiff brings this action is administered in this

district from its principal place of business at 501 Third Street, NW, Washington, DC 20001.
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ALLEGATIONS IN SUPPORT OF RELIEF SOUGHT

3. The Board of Trustees is a “fiduciary,” as defined in Section 3(21)(A) of ERISA,
29 U.S.C. § 1002(21}(A), with respect to the Communications Workers of American Savings and
Retirement Trust, and is empowered to bring this action pursuant to Section 502(a)(3) of ERISA,
29 U.S.C. § 1132(a)(3). The Communications Workers of America Savings and Retirement Trust
(“Plan”) is a jointly trusteed 401(k) pension plan created and maintained pursuant to Section
302(c) of the LMRA, 29 U.S.C. § 186(c), and a “multiempioyer plan” as defined in Section 3(37)
of ERISA, 29 U.S.C. § 1002(37).

4, Defendant Power Communication Services, Inc. (“Power”) is an employer in an
industry affecting commerce within the meaning of Sections 3(5), 3(11), and 3(12) of ERISA, 29
U.S.C. §§ 1002(5), (11), and (12), and Sections 2(2), (6), and (7) of the LMRA, 29 US.C. §§
152(2), (6), and (7). Defendant employs employees represented for the purposes of collective
bargaining by Local 1101, a labor organization representing employees in an industry affecting
interstate commerce. Upon information and belief, Defendant is a corporation incorporated in the
State of New York with its principal place of business at 945 Yonkers Avenue, Yonkers, NY
10704.

5. Defendant James McGibney is the President of Power. He is a fiduciary of the
Plan within the meaning of ERISA Section 3(21), 29 U.S.C. § 1102(21), by virtue of the fact that
he has withheld but failed to remit to the Plan employee elective contributions to the Plan within
the maximum time as required by statute and applicable regulations.

6. Power was signatory to, and bound by, a collective bargaining agreement
between Local 1101 and Power, effective August 1, 1999 through August 2, 2003, and

continuing in effect thereafter from year to year until lawfully terminated. On August 2, 2003,
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Power entered into a successor collective bargaining agreement with Local 1101, effective
August 2, 2003 through August 5, 2006 and continuing in effect thereafter from year to year until
lawfully terminated. Under these two agreements (“CBAs”), Power was, and continues to be,
obligated to deduct and remit to the Plan authorized employee elective contributions to the Plan
on behalf of Power employees covered by the CBAs. In addition, under the terms of the CBAs,
Power was, and continues to be, obligated to make employer matching contributions to the Plan
in the amount of twenty percent (20%) of all employee elective contributions to the Plan. By
contributing to the Pian, Power was, and remains, obligated to abide by the terms and conditions
of the Trust establishing the Plan and the terms of any policies adopted under the Trust.

7. Pursuant to the Plan’s Statement of Policy for Collection of Delinquent
Contributions (“Collection Policy”), to which Defendants Power and McGibney are bound,
Defendants are required to remit employee elective contributions and employer matching
contributions to the Plan as soon as possible after they were withheld, but in no event after the
15" business day of the month following the month in which such amounts are withheld from
employees’ paychecks. The Collection Policy also provides that, in the event that contributions
are not timely remitted to the Plan, interest shall accrue on those delinquent contributions. For
delinquent employee elective contributions, the interest is the amount of investment return that
otherwise would have been earned on the employee elective contributions. For delinquent
employer contributions, including employer matching contributions, interest accrues at the prime
rate plus two percent (2%).

8. For the period including, but not necessarily limited to, March 2000 to May
2003, Defendants have employed employees who requested payroll deductions for submission to

the Plan as employee elective contributions. However, Defendants have failed to deduct these
 

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requested employee elective contributions despite their obligation to do so under the CBAs, the
Plan’s Trust, and Section 515 of ERISA, 29 U.S.C. § 1145. Therefore, pursuant to the Plan’s
Trust and Collection Policy, Defendants are liable for the amount of investment returm that would
have been earned on the employee elective contributions had these contributions been timely
deducted and remitted to the Plan and liquidated damages equal to twenty percent (20%) of the
delinquent employee elective contributions.

9. For the period including, but not necessarily limited to, March 2000 to the
present, Defendants failed to submit matching employer contributions to the Plan as required by
the CBAs and the Collection Policy. Therefore, pursuant to the Plan’s Trust and Collection
Policy, Defendants are liable for the employer matching contributions, interest, and liquidated
damages equal to twenty percent (20%) of the delinquent employer matching contributions.

10, For the period of April 2005, Defendants have withheld employee elective
contributions from the wages of Plan participants but have failed to remit these contributions to
the Plan. Therefore, pursuant to the Plan’s Trust and Collection Policy, Defendants are hable for
the employee elective contributions, the amount of investment return that otherwise would have
been earned on those contributions, and liquidated damages equal to twenty percent (20%) of
those employee elective contributions.

CLAIMS AGAINST DEFENDANT POWER FOR
DELINQUENT CONTRIBUTIONS, LOST INVESTMENT RETURNS,
INTEREST, ATTORNEYS FEES, AND LIQUIDATED DAMAGES

11. Plaintiffs repeat and reallege allegations contained in paragraphs 1-4 and 6-10

hereof.

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12. Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. § 1132(g)\(2), and the Plan’s
Collection Policy, Defendant Power is liable for delinquent contributions including employee
elective contributions withheid but not remtited to the Plan and employer matching contributions
owed to the Plan, interest thereon, and liquidated damages. In all likelihood, Defendant Power
will continue to employ covered employees but fail to make the required contributions so that at
the time this cause reaches judgment, Defendant Power will owe additional withheld employee
elective contributions, employer matching contributions, interest, and liquidated damages for
which Plaintiff shall seek a money judgment in this action.

13. Unless ordered to do otherwise by this Court, Defendant Power will continue to
refuse to pay to the Plan the amounts established at the time this matter reaches trial or at the
time of judgment. Plaintiff seeks injunctive relief pursuant to Sections 502(a)(3)(A) and
502(g\(2)(E) of ERISA, 29 U.S.C. §§ 1132(a)(3)(A) and (2)(2)(E), and 29 U.S.C. § 185(a).
i4. In addition to a judgment awarding the amount of delinquent contributions
unpaid at the time this cause reaches judgment, Plaintiff is entitled to an award of the following,
pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. § 1132(g)(2), as amended, and the Plan’s
Collection Policy:

(a) The amount of investment return that would have been earned on the
delinquent employee elective contributions had they been timely remitted to the Plan; and

(b) Interest on the delmquent employer matching contributions ai the prime
rate plus two percent (2%) per year, as stated under the Plan’s Collection Policy; and

(c) Liquidated damages equal to the greater of:

Ga) accrued interest on delinquent contributions not paid when due, or
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(i) an amount equal to twenty percent (20%) of the amount of
delinquent contributions, as provided for in the Plan’s Collection Policy; and
(d) Reasonable attorneys’ fees and the costs of this action.

CLAIMS AGAINST DEFENDANT MCGIBNEY FOR
FIDUCIARY BREACH AND PROHIBITED TRANSACTIONS

15. Plaintiffs repeat and reallege paragraphs 1-11 hereof.

16. Defendant McGibney exercised discretionary authority and control over Plan
assets. Those Plan assets were the employee elective contributions that Defendants failed to
timely pay to the Plan.

17. Defendant McGibney is a “parties in interest” with respect to the Plan within the
meaning of Section 3(14) of ERISA, 29 U.S.C, § 1102(14).

18. Defendant McGibney breached his fiduciary duties under ERISA Section
AQ4(a)(1)(A), (B) and (C), 29 U.S.C. §§ 1104 (a)(D)(A), (B) and (C), by failing to timely remit
employee elective contributions to the Plan and using those contributions for his benefit and the
benefit of Power.

19. Defendant McGibney engaged in prohibited transactions in violation of ERISA
Sections 406(a)(1)(D) and (b), 29 U.S.C. §§ 1106(a)(1)(D) and (b) by: engaging in a transactions
that constitute transfer of Plan assets to Power; dealing with Plan assets in his own interest and
account; acting in transactions involving the Plan on behalf of Power, a party whose interests are
adverse to the interests of the Plan, its participants, and its benefictaries; and receiving
consideration from Power.

WHEREFORE, Plaintiff demands a judgment against Defendants jointly and severally,

for all amounts due Plaintiff at ihe time this cause reaches judgement and other relief, including:
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(a) An award to Plaintiff of all of the sums due the Plan under the terms of
the Plan’s Trust and Collection Policy, and Section 502(g)(2) of ERISA, as amended, 29 U.S.C.
§ 1132(g)(2), including all withheld but unremitted employee elective contributions, all nnpaid
employer matching contributions through the date of judgment, investment returns that would
have ‘been earned on employee elective contributions had they been trmely remitted, interest on
delinquent employer matching contributions, and liquidated damages on all delinquent
contributions, as well as attorneys’ fees and costs; and

(b) Requiring Defendant Power; Defendant Power’s officers, agents,
servants, attormeys, successors, assigns, and all persons acting on its behalf; and Defendant
MoGibney to pay to Plaintiff all monies, including all withheld but unremitted employee elective
contributions, all unpaid employer matching contnbutions through the date of judgment,
investment returns that would have been earned on employee elective contributions had they
been timely remitted, interest on delinquent employer matching contributions, and liquidated
damages on all delinquent contributions for the period of March 2000 through the date of
judgment and for all other periods for which Defendant Power is obligated to make payments to
the Plan under the terms of the CBAs; and

(c) Requiring Requiring Defendant Power; Defendant Power’s officers,
agents, servants, attorneys, sticcessors, assigns, and all persons acting on its behalf; and
Defendant McGibney to permit an audit of wage, payroll, and personnel records for all periods

for which Defendants Power and McGibney were and are obligated to contribute to the Plan and

to pay all contributions, lost investment returns, interest, and liquidated damages discovered in

. such audit and the costs of such audit; and
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(c) Ordering Defendants Power and McGibney to pay Plaintiff’s reasonable
attomey’s fees and the costs of this action, including fees and costs incurred in the execution of
any judgment awarded, and audit fees, as set forth in the Plan’s Collection Policy and Section
502(g) of ERISA, as amended, 29 U.S.C. § 1132(g); and

(d) Granting Plaintiff such further and other relief as may be just and proper.

Respectfully submitted,

Shwvi ) Ibhet &

Thomas Wart (DC Bar No. 165647)

SLEVIN & HART, P.C.

1625 Massachusetts Avenue, NW, Suite 450 _
Washington, DC 20036

202-797-8700 (Telephone)

202-234-8231 (Facsimile)

Dated: fing / 3 , 2005 Counsel for Plaintiffs
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